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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

 

)
UNITED STATES OF AMERICA, )
)
and )
) - 17-15
STATE OF NEW YORK, )
)
Plaintiffs, )
Vv. ) Civil Action No.
) 12-cv-8989 (ALC) (GWG)
)
TWIN AMERICA, LLC, et al. ) ECF Case
)
Defendants. )
)
Ca BE INAL JUDGMENT

WHEREAS, Plaintiffs United States of America and the State of New York (collectively
“Plaintiffs”) filed their Complaint on December 11, 2012, Plaintiffs and Defendants Coach USA,
Inc., International Bus Services, Inc., CitySights LLC, City Sights Twin, LLC, and Twin
America, LLC (collectively “Defendants”), by their respective attorneys, have consented to the
entry of this Final Judgment without trial or adjudication of any issue of fact or law, and without
this Final Judgment constituting any evidence against or admission by any party regarding any
issue of fact or law;

AND WHEREAS, Defendants agree to be bound by the provisions of this Final
Judgment pending its approval by the Court;

AND WHEREAS, the essence of this Final Judgment is the execution of prompt and
certain divestitures by Defendants to restore competition that Plaintiffs allege was substantially

lessened, and the payment of equitable monetary relief;

 
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AND WHEREAS, Plaintiffs require Defendants to make certain divestitures for the
purpose of remedying the loss of competition alleged in the Complaint, and to pay equitable
monetary relief;

AND WHEREAS, Defendants have represented to Plaintiffs that the divestitures and the
other relief required below can and will be made and that Defendants will later raise no claim of
hardship or difficulty as grounds for asking the Court to modify any of the provisions contained
below;

‘NOW THEREFORE, before any trial testimony is taken, without trial or adjudication of
any issue of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED AND
DECREED:

4 I. Jurisdiction

This Court has jurisdiction over the subject matter of and each of the parties to this
action. The Complaint states a claim upon which relief may be granted against Defendants under
Section 7 of the Clayton Act, as amended (15 U.S.C. § 18), Section 1 of the Sherman Act (15
U.S.C. § 1), Section 340 of the Donnelly Act (N.Y. Gen. Bus. Law § 340), and Section 63(12) of
the New York Executive Law (N.Y. Exec. Law § 63(12)).

II. Definitions

As used in this Final Judgment:

A. “Coach” means Coach USA, Inc., a Delaware corporation with its principal place
of business in Paramus, New Jersey, and International Bus Services, Inc., a New York
corporation with its principal place of business in Hoboken, New Jersey, and their successors and
assigns, and any subsidiaries, divisions, groups, affiliates, partnerships and joint ventures under

their control, and their directors, officers, managers, agents, and employees.

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B. “CitySights” means CitySights LLC and City Sights Twin, LLC, New York
limited liability companies with their principal places of business in New York, New York, and
their successors and assigns, and any subsidiaries, divisions, groups, affiliates, partnerships and
joint ventures under their control, and their directors, officers, managers, agents, and employees.

C. “CitySights Bus Stop Authorizations” means all of the Manhattan bus stop
authorizations granted by the New York City Department of Transportation identified in
Appendix A, which comprises all of the bus stop authorizations granted to and currently held by
CitySights to provide hop-on, hop-off bus tours in the borough of Manhattan, New York City.

D. “Twin America” means Twin America, LLC, a Delaware limited liability
company with its principal place of business in New York, New York, and its successors and
assigns, and any subsidiaries, divisions, groups, affiliates, partnerships and joint ventures under
its control, and their directors, officers, managers, agents, and employees.

E. “Defendants” means Coach USA, Inc., International Bus Services, Inc.,
CitySights LLC, City Sights Twin, LLC, and Twin America, LLC.

F, “NYCDOT” means the New York City Department of Transportation.

G. “Person” means any natural person or legal entity.

Ill. Applicability

This Final Judgment applies to Coach, CitySights, and Twin America, as defined above,

and all other persons in active concert or participation with any of them who receive actual

notice of this Final Judgment by personal service or otherwise.

 
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IV. Disgorgement

Defendants shall pay $7.5 million in disgorgement to Plaintiffs for Defendants’ alleged
violations of Section 7 of the Clayton Act, as amended (15 U.S.C. § 18), Section 1 of the
Sherman Act (15 U.S.C. § 1), Section 340 of the Donnelly Act (N.Y. Gen. Bus. Law § 340), and
Section 63(12) of the New York Executive Law (N.Y. Exec. Law § 63(12)). The $7.5 million
disgorgement payment shall be divided equally between the United States and the State of New
York.

V. Payment of Disgorgement

A. Defendants’ payment of disgorgement shall be made in three (3) installments.
Within 30 days of the entry of this Final Judgment, Defendants must pay $2.5 million in
disgorgement to Plaintiffs, divided equally between the United States and the State of New York.
Within nine (9) months after entry of this Final Judgment, Defendants must pay another $2.5
million in disgorgement to Plaintiffs, divided equally between the United States and the State of
New York. Within 16 months after entry of this Final Judgment, Defendants must pay the
remaining $2.5 million in disgorgement to Plaintiffs, divided equally between the United States
and the State of New York.

B. The payments to the United States specified in this Final Judgment must be made
by wire transfer. Before making any transfer to the United States, a defendant must contact Janie
Ingalls of the Antitrust Division’s Antitrust Documents Group at (202) 512-2481 for wire-
transfer instructions.

The payments to the State of New York specified in this Final Judgment must be made by
wire transfer. Before making any transfer to the State of New York, Defendants must contact

Dorcey Bennett (Dorcey.Bennet@ag.ny.gov) of the State of New York's Budget & Fiscal

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Management Bureau for wire-transfer instructions and cc: to James Yoon
(James. Yoon@ag.ny.gov).

C. In the event of a default in payment, interest at the rate of 18 percent per annum

will accrue thereon from the date of default to the date of payment.
VI. Divestitures

A. Defendants are ordered and directed, by May 1, 2015, to divest the CitySights Bus
Stop Authorizations by relinquishing them to the NYCDOT in a manner consistent with this
Final Judgment. The Plaintiffs, in their sole discretion, may agree to one or more extensions of
this time period not to exceed 30 calendar days in total, and shall notify the Court in such
circumstances.

B. Defendants shall not take any action that will jeopardize, delay, or impede in any
way the divestiture of the CitySights Bus Stop Authorizations.

C. Unless the Plaintiffs otherwise consent in writing, the divestiture pursuant to
Section VI of this Final Judgment shall include the entire CitySights Bus Stop Authorizations in
the borough of Manhattan, New York City. For the avoidance of doubt, nothing in this Final
Judgment requires Defendants to divest any bus stop authorizations granted to affiliates of Twin
America other than CitySights, including any authorizations for shared use bus stops.

D. Defendants shall not take any action to impede in any way the reallocation or
reassignment of the CitySights Bus Stop Authorizations by NYCDOT to any other person.

VII. Maintenance of CitySights Bus Stop Authorizations
Until the divestiture required by this Final Judgment has been accomplished, Defendants

shall take all steps necessary to comply with the Stipulation and Order Regarding Proposed Final

 
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Judgment entered by this Court. Defendants shall take no action that would jeopardize, delay, or
impede the divestiture of the CitySights Bus Stop Authorizations ordered by this Court.
VIII. Affidavits

A. Within seven (7) calendar days of the Court entering the Stipulation and Order
Regarding Proposed Final Judgment in this matter, and every thirty (30) calendar days thereafter
until the divestiture has been completed under Section VI, Defendants shall deliver to Plaintiffs
an affidavit that describes in reasonable detail all actions Defendants have taken to comply with
Section VI of this Final Judgment. Defendants shall deliver to Plaintiffs an affidavit describing
any changes to the efforts and actions outlined in Defendants’ earlier affidavits filed pursuant to
this section within fifteen (15) calendar days after the change is implemented.

B. Defendants shall keep all records of all efforts made to maintain and divest the
CitySights Bus Stop Authorizations until one year after such divestiture has been completed.

IX. Compliance Inspection

A. For the purposes of determining or securing compliance with this Final Judgment,
or of any related orders, or of determining whether the Final Judgment should be modified or
vacated, and subject to any legally recognized privilege, from time to time Plaintiffs’ authorized
representatives, upon written request and on reasonable notice to Defendants, shall be permitted
to:

(1) access during Defendants’ office hours to inspect and copy, or at the option
of the United States or State of New York, to require Defendants to provide
hard copy or electronic copies of, all books, ledgers, accounts, records,
data, and documents in the possession, custody, or control of Defendants,

relating to any matters contained in this Final Judgment; and

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(2) interview, either informally or on the record, Defendants’ officers,
employees, or agents, who may have their individual counsel present,
regarding such matters. The interviews shall be subject to the reasonable
convenience of the interviewee and without restraint or interference by
Defendants.

B. Upon the written request of an authorized representative of either Plaintiff,
Defendants shall submit written reports or responses to written interrogatories, under oath if
requested, relating to any of the matters contained in this Final Judgment as may be requested.

C. No information or documents obtained by the means provided in this section shall
be divulged by the Plaintiffs to any person other than an authorized representative of the
executive branch of the United States or the Attorney General’s Office of the State of New York,
except in the course of legal proceedings to which the United States or the State of New York is
a party (including grand jury proceedings), or for the purpose of securing compliance with this
Final Judgment, for law enforcement purposes, or as otherwise required by law.

D. If at the time information or documents are furnished by Defendants to Plaintiffs,
Defendants represent and identify in writing the material in any such information or documents
to which a claim of protection may be asserted under Rule 26(c)(1)(G) of the Federal Rules of
Civil Procedure, and Defendants mark each pertinent page of such material, “Subject to claim of
protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure,” then Plaintiffs shall
give Defendants ten (10) calendar days notice prior to divulging such material in any legal

proceeding (other than a grand jury proceeding).

 
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X. Notification

Unless such transaction is otherwise subject to the reporting and waiting period
requirements of the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, 15
U.S.C. § 18a (the “HSR Act”), Defendants, without providing advance notification to the
Plaintiffs, shall not directly or indirectly acquire any assets of or any interest, including any
financial, security, loan, equity or management interest, in a person providing hop-on, hop-off
bus tours in New York City during the term of this Final Judgment.

Such notification shall be provided to the Plaintiffs in the same format as, and per the
instructions relating to the Notification and Report Form set forth in the Appendix to Part 803 of
Title 16 of the Code of Federal Regulations as amended, except that the information requested in
Items 4 through 8 of the instructions must be provided only about hop-on, hop-off bus tours in
New York City. Notification shall be provided at least thirty (30) calendar days prior to
acquiring any such interest, and shall include, beyond what may be required by the applicable
instructions, the names of the principal representatives of the parties to the agreement who
negotiated the agreement, and any management or strategic plans discussing the proposed
transaction. If within the 30-day period after notification, representatives of either Plaintiff make
a written request for additional information, Defendants shall not consummate the proposed
transaction or agreement until thirty (30) calendar days after substantially complying with such
request for information. Early termination of the waiting periods in this paragraph may be
requested and, where appropriate, granted in the same manner as is applicable under the
requirements and provisions of the HSR Act and rules promulgated thereunder. This Section
shall be broadly construed and any ambiguity or uncertainty regarding the filing of notice under

this Section shall be resolved in favor of filing notice.

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XI. Antitrust Compliance Program

A. Within thirty (30) days after entry of this Final Judgment, Coach and Twin
America shall each appoint an Antitrust Compliance Officer and identify to Plaintiffs his or her
name, business address, and telephone number.

B. Each Antitrust Compliance Officer shall institute an antitrust compliance program
for the company’s officers and directors with responsibility for any operations in the U.S., and
any employee with pricing or decision-making responsibility for any aspect of the provision of
hop-on, hop-off bus tours in New York City. The antitrust compliance program shall provide at
least two hours of training annually on the antitrust laws, such training to be delivered by an
attorney with relevant experience in the field of antitrust law.

C. Each Antitrust Compliance Officer shall obtain, within six months after entry of
this Final Judgment, and on an annual basis thereafter, on or before each anniversary of the entry
of this Final Judgment, from each person subject to Section XI.B of this Final Judgment, and
thereafter maintaining, a certification that each such person has received the required two hours
of annual antitrust training.

D. Each Antitrust Compliance Officer shall communicate annually to all employees
that they may disclose to the Antitrust Compliance Officer, without reprisal, information
concerning any potential violation of the antitrust laws.

E. Each Antitrust Compliance Offer shall provide to Plaintiffs within six months
after entry of this Final Judgment, and on an annual basis thereafter, on or before each
anniversary of the entry of this Final Judgment, a written statement as to the fact and manner of

the Defendant’s compliance with Section XI of this Final Judgment.

 
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XII. No Reacquisition

For a period of five years from the date of entry of this Final Judgment, Defendants may
not apply for or obtain any bus stop authorizations for hop-on, hop-off bus tours at the locations
of the divested CitySights Bus Stop Authorizations, except that, after May 1, 2016, if the
NYCDOT revokes a bus stop authorization currently granted to an affiliate of Twin America
other than City Sights, Defendants may apply for or obtain a bus stop authorization at the
location of a divested CitySights Bus Stop Authorization that is at or in close proximity to the
location of the bus stop authorization NYCDOT has revoked. Nothing in this Final Judgment
shall be construed to prohibit Defendants from applying for or obtaining from the NYCDOT bus
stop authorizations at locations other than the locations of the CitySights Bus Stop
Authorizations, nor to limit the NYCDOT’s ability to alter or amend Defendants’ bus stop
authorizations.

XIII. Retention of Jurisdiction

This Court retains jurisdiction to enable any party to this Final Judgment to apply to this
Court at any time for further orders and directions as may be necessary or appropriate to carry
out or construe this Final Judgment, to modify any of its provisions, to enforce compliance, and
to punish violations of its provisions.

XIV. Expiration of Final Judgment

Unless this Court grants an extension, this Final Judgment shall expire ten years from the

date of its entry, except that Sections XI and XII shall expire five years from the date of this

Final Judgment’s entry.

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XV. Public Interest Determination
Entry of this Final Judgment is in the public interest. The parties have complied with the
requirements of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16, including making
copies available to the public of this Final Judgment, the Competitive Impact Statement, and any
comments thereon and the United States’ responses to comments. Based upon the record before
the Court, which includes the Competitive Impact Statement and any comments and response to

comments filed with the Court, entry of this Final Judgment is in the public interest.

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JUDGE ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

 

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APPENDIX A*
Bus Stop : :

ID # Main Street Intersecting Street Address Corner Curb
401685 1AV ST MARKS PL 142 NE E
401699 1AV E 45 ST OPP 799 SE E
400117 5 AV E 90ST OPP 1083 SW WwW
400008 5 AV E72 ST OPP 905 SW WwW
450447 5 AV E 66 ST OPP 842 SW W
400515 5 AV W 49 ST 610 NW W
400329 5 AV W 22 ST 174 NW W
403132 6 AV W 50ST 1258 SE E
400949 7TAV W 57ST 890 SW W
450427 7TAV W 50ST 761 NW W
404153 7TAV W 42 ST 5 TIMES SQ SW W
401372 TAVS W 10ST OPP 113 SW WwW
404870 8 AV W 42 ST 672 NE E
450354 8 AV W 46ST OPP 727 SE E
404846 8 AV W 49 ST 810 NE E
401239 8 AV W 52 ST 888 NE E
401678 ALLEN ST GRAND ST 80 NE E
401438 AMSTERDAM AV W 112 ST OPP 1060 NE E
400747 BROADWAY W 63 ST 1900 NE E
450464 BROADWAY W 50ST 1633 NW W
405217 BROADWAY SPRING ST 531 NW WwW
405266 BROADWAY WALKER ST 401 NW WwW
400166 BROADWAY PARK PL 250 NW W
404187* BROADWAY VESEY ST 209 SW W
450207* BROADWAY WALL ST 100 NW WwW
450403 CENTRAL PK 8 GRAND ARMY PLZ OPP 22 MID BLOCK N
400943 CENTRAL PK 8 CENTER DR OPP 108 NW N
401248 CENTRAL PK W W 72 ST OPP 121 NE E
404134 CENTRAL PK W W 79 ST OPP 200 NE E
402841 LEXINGTON AV E 49 ST OPP 525 SW W

GEN. GRANT
450488 RIVERSIDE DR NATIONAL MEM 345A MID BLOCK Ww
450183 SOUTH ST FULTON ST OPP 93 SE E
450440 STATE ST BATTERY PL OPP 3825 MID BLOCK WwW
402657 W 125 ST FRED DOUGLAS BL 268 SE S
403894 W 14ST 5 AV 7 NW N
400716 W 34 ST BROADWAY OPP 112 NW N
401847 W 34 ST TAV 213 NW N
404280 W 34ST 7TAV 242 SW S

 

 

' The information contained in this chart is derived from records of the New York City Department of Transportation.

 

 
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ae Main Street Intersecting Street Address Corner Curb
450133 W 34ST SAV 22 MID BLOCK S
450191 E 42 ST VANDERBILT AV 51 NW N
401851 W 42 ST 8 AV 303 NW N
403238 W 42 ST 9 AV 350 SE S
403242 W 42 ST 6 AV OPP 53 SE S
450441 W 46 ST BROADWAY OPP 205 SW 8
402169 W 50 ST 6 AV 74 SE S
401666 WATER ST WALL ST OPP 122 NE E
404850* WATER ST FULTON ST NONE MID BLOCK E

 

* Bus stops indicated by an * are currently inaccessible because of construction.

 

 
